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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION
BRUCE J. FALCON
VERSUS : CIVIL ACTION NO. 6:12-CV-02358
OFFICER MARK VENABLE, ET AL : JUDGE HAIK, MAG. JUDGE HANNA
ANSWER

NOW INTO COURT, through undersigned counsel, come OFFICER MARK
VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER
FOR THE CITY OF SCOTT; OFFICER REGINALD HILTS, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY 0F SCOTT; and the CITY
OF SCOTT, sought to be made defendants herein, Who aver as follows:

FIRST DEFENSE
The complaint fails to state a claim upon Which relief can be granted.
SECOND DEFENSE

ln the further alternative, and subject to the allegations hereinabove set forth, defendants

answer the allegations of the Verifled Civil Rights Cornplaint as follows:
l.
The allegations contained in paragraph l of the original Verifled Civil Rights Cornplaint

are denied.

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2.
The allegations contained in paragraph 2 of the original Verified Civil Rights Complaint
are denied.
3.
The allegations contained in paragraph 3 of the original Verified Civil Rights Complaint
are denied.
4.
The allegations contained in paragraph 4 of the original Verifled Civil Rights Complaint
are denied.
5.
The allegations contained in paragraph 5 of the original Verifled Civil Rights Complaint
are denied.
6.
The allegations contained in paragraph 6 of the original Verifled Civil Rights Complaint
are denied.
7.
The allegations contained in paragraph 7 of the original Verified Civil Rights Complaint
are denied.
8.
The allegations contained in paragraph 8 of the original Verifled Civil Rights Complaint

are denied.

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9.
The allegations contained in paragraph 9 of the original Verified Civil Rights Complaint
are denied.
10.
The allegations contained in paragraph 10 of the original Verified Civil Rights Complaint
are denied.
11.
The allegations contained in paragraph 11 of the original Verified Civil Rights Complaint
are denied.
12.
The allegations contained in paragraph 12 of the original Verified Civil Rights Complaint
are denied.
13.
The allegations contained in paragraph 13 of the original Verified Civil Rights Complaint
are denied.
14.
The allegations contained in paragraph 14 of the original Verifled Civil Rights Complaint
are denied.
15.
The allegations contained in paragraph 15 of the original Verifled Civil Rights Complaint

are denied.

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16.

The allegations contained in paragraph 16 of the original Verified Civil Rights Complaint
are denied.

17.

The allegations contained in paragraph 17 of the original Verified Civil Rights Complaint
are denied.

AND NOW, and further answering in the alternative, the defendants, OFFICER MARK
VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER
FOR THE CITY OF SCOTT; OFFICER REGINALD HILTS, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; and the CITY
OF SCOTT, affirmatively plead as follows.

THIRD DEFENSE

The alleged accident or incident and the alleged damages of plaintiff, if any, were not
caused by any fault, negligence, and/or liability attributable to OFFICER MARK VENABLE,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE
CITY OF SCOTT; OFFICER REGINALD HILTS, INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; and the CITY OF SCOTT,
but instead were caused by or can be imputed to the fault and/or negligence of plaintiff in the
following non-exclusive particulars:

(a) Failing to do what should have been done;

(b) Failing to see what should have been seen;

(c) Failing to act as a reasonable person under the circumstances;

(d) Failing to exercise due care for his own safety;

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(e) Failing to follow lawful police orders, arrests, or detentions;

(f) Failing to stop his resistance;

(g) Failing to avoid his own injury;

(h) Any other acts and/or omissions which may be shown at the trial of this matter.

FOURTH DEFENSE

The defendants, OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER
REGINALD HILTS, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE
OFFICER FOR THE CITY OF SCOTT; and the CITY OF SCOTT, do specifically aver that they
were in no way guilty of any negligence, fault or strict liability which could be considered a
proximate cause of the accident or damages alleged by the plaintiff and that no negligence, fault
or strict liability can be imputed to them.

FIFTH DEFENSE

The defendants, OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER
REGINALD HILTS, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE
OFFICER FOR THE CITY OF SCOTT; and the CITY OF SCOTT, would aver that the
proximate cause of the accident and/or damages alleged by the plaintiff resulted and/or can be
imputed to the fault of a third person and/or victim fault.

SIXTH DEFENSE

The defendants, OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS

OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER

REGINALD HILTS, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE

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OFFICER FOR THE CITY OF SCOTT; and the CITY OF SCOTT, would aver that the plaintiff
was himself guilty and/or can be imputed with comparative negligence/assumption of the risk,
which comparative negligence/assumption of the risk is a complete bar to the recovery of the
plaintiff and/ or in the alternative that the plaintiff failed to mitigate his damages and/or that his
damages should be reduced by the percentage of comparative negligence attributable to him
and/or imputed to him.
SEVENTH DEFENSE
The defendants specifically aver any and all affirmative defenses specifically enumerated
in Louisiana Code of Civil Procedure Article 1005 which are applicable to this case and/or any
and all other affirmative defenses recognized by this jurisprudence, and these are pled herein as if
copied herein in extenso to the extent they apply; and specifically, La. R.S. 9:2800 (public body
immunity); La. R.S. 9:2800.10 (felony perpetrator); La. R.S. 9:2800.19 (use of force in certain
crimes); La. R.S. 9:2792.4 (political subdivision immunity); La. R.S. 9:2798.1 (public official
immunity); La. R.S. 13:5105; La. R.S. 13:5106; La. R.S. 13:5112;La.R.S.42:1441(political
subdivision immunity), et seq.; and La. C.Cr.P. art. 201-232 as to any specific state law claims, if
applicable.
EIGHTH DEFENSE
The defendants would also plead the defenses of prescription; unavoidable accident;
aggressor doctrine; emergency doctrine; lack of mitigation of damages; absolute, disrectionary
and/or qualified immunity pursuant to Heather Lehman, et al vs. Cheryl M. Leichliter, et al, No.
07-30405, ___ F.3d __ (5th Cir. 5/27/08); good faith; probable cause; public duty doctrine;
assumption of the risk; and/or lack of liability pursuant to Monell vs. Department of Social

Servz'ces, 436 U. S. 658 (1978).

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NIN'_I`I'I DEFENSE
The defendants specifically plead a credit or set-off for any liability of any and all other
defendants or potential defendants in this matter as of the date of judgment and with regard to
any and all insurance proceeds collectible as a result of that liability.
TENTH DEFENSE
The defendants would also aver that the plaintiff should not recover for any payments,
injuries or damages which result from pre-existing or subsequent conditions which were not
proximately caused by this accident or incident. Defendants cannot be held liable for such
damages to the extent they were sustained in other accidents or incidents
E] ,EVENTH DEFENSE
Defendants aver that plaintiffs suit is frivolous under 42 U.S.C. § 1983, thereby entitling
defendants under U.S.C. § 1988, to their attorney’s fees, expert fees, and costs they have and will
incur in defending this action through Rule 50 or 52(c) motion pursuant to the Federal Rules of
Civil Procedure and/or through trial and specifically request the Court to leave the note of
evidence open in this case so that evidence of all attorney’s fees and costs may be submitted to
this Court.
TWELFTH DEFENSE
Defendants plead the limitation on legal interest and court costs in accordance with
La. R.S. 13:5112 as to any specific state law claims.

THIRTHENTH DEFENSE

 

Louisiana Code of Civil Procedure article 863 is pled herein in order to recover sanctions,
attorney’s fees, and costs should the allegations of any state law cause of action be found to be

unfounded, uninvestigated or frivolous as to any specific state law claims.

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FOURTF.I_IN'I`]I If)li!"`l`~`.`,NSE
Plaintiff may not recover punitive damages or penalties against the defendants sued in
their official capacity and cannot recover due to defendants’ inability to pay.
FI`FTEF,NTI l D ii I-"EN S E
In the event, and solely in the event, that the defendants sued in their individual capacity
are found liable for punitive damages or penalties, all of which is at all times specifically denied,
defendants aver that plaintiffs claims for punitive damages against defendants are barred by the
equal protection, excess fines, due process, and cruel and unusual punishment clauses of the
United States and Louisiana constitutions and, as such, are null and void.
SIXTEENTH DEFENSE
Defendants deny liability for any award of punitive, penalty or exemplary damages,
because under the current rules governing discovery and trial practices, current evidentiary rules,
and current vague substantive standards, such an award would violate the defendants’ rights
under U. S. Const. art. l, §§ 8, 9, 10, amendments IV, V, VI, VIII and XIV. In particular,

defendants deny liability for exemplary damages because:

l There is no standard of sufficient clarity to guide the jury in determining whether
to award exemplary damages, or the amount of punitive or exemplary damages to
be awarded;

I The jury is not instructed on the limits on punitive or exemplary damages imposed

by the applicable principles of deterrence and punishment;

l The jury is not expressly prohibited from awarding punitive or exemplary
damages, or from determining the amount of an award of punitive or exemplary
damages, in whole or in part, on the basis of discriminatory characteristics such as
defendants’ wealth;

l The jury does not receive sufficient instruction to avoid awarding excessive and
disproportionate punitive or exemplary damages;

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l The standard for determining liability or punitive or exemplary damages is vague
and arbitrary and does not define with sufficient clarity the conduct or mental state
that makes punitive or exemplary damages permissible;

l The jury is permitted to award punitive or exemplary damages on the decision of
only ten jurors, rather than a unanimous vote;

l The award of punitive or exemplary damages is not subject to judicial review
based on objective standards

SEVENTEENTl-I DEFENSE

 

Defendants, OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER REGINALD
HILTS, INDIVIDUALLY AND lN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR
THE CITY OF SCOTT; and the CITY OF SCOTT, affirmatively assert that the plaintiff has no
right to recover for any amounts written off or contractually adjusted by any health care provider
because of that provider’S receipt of Medicare and/or Medicaid payments for plaintiffs medical
treatment.

EIGHTEENTH DEFENSE

lt is further affirmatively pled that the plaintiff has no right of action to recover any
amounts paid by Medicare and/or Medicaid as the rights to recover those payments have been
assigned by them and by operation of law to Medicare and/or Medicaid.

NIN`ETEF:N"I`II DEF ENSE

Defendants further affirmatively assert that if any payments were made by Medicaid or if
any medical treatment was provided by any state medical or health care provider or if any
medical treatment was paid for by any state agency or department that any right to recover those
payments or any obligation created on the part of these defendants for those payments or

treatments have been extinguished by confusion.

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TWENTIETH DEFENSE

 

Plaintiff is not entitled to legal interest against defendants
TWENTY-FIRST DEFENSE

OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY
AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER REGINALD HILTS,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE
CITY OF SCOTT; and the CITY OF SCOTT, do hereby plead the limitations on damages
afforded them pursuant to 42 U.S.C.A. § 1981a(b)(3).

TWENTY-SECOND DEFENSE

lt is affirmatively averred that the plaintiff has or may have received payments of medical
expenses under a policy or policies of health, accident, workers’ compensation, or medical and/or
hospitalization insurance, Medicare or Medicaid benefits, and/or at a charity hospital and has
subrogated his rights and/or claims for payment of said expenses to the person, firm, corporation,
or other legal entity issuing a policy or extending such benefits and, therefore, has no right of
action against these defendants for the amounts so paid.

'I`WEN"I"Y-THIRD DEFENSE

The defendants would also plead the defenses of qualified immunity pursuant to Moresi
v. State of Louisiana, Throagh the Department of Wila’lz`fe and Fisheries, et al., 567 So.2d 1081
(La. 1990) to all claims for violations of the Louisiana State Constitution of 1974, including but
not limited to claims under LSA - Const. Art. I § 2, LSA - Const. Art. I § 5, and LSA - Const.
Art. l § 20. Government officials are entitled to qualified immunity when performing

discretionary functions McManus v. State of La., Dep ’t of Wildlife and Fisheries, 09-1158

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(La.App. 3 Cir. 3/10/10), 33 So.3d 412, writ denied, 10-816 (La. 6/18/10), 38 So.2d 323; Jackson
v. State ofLa., Dep ’t ofCorrs., 00-2882 (La. 5/15/01), 785 So.2d 803.
TWENTY-FOURTH DEFENSE

OFFICER MARK VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY
AS A POLICE OFFICER FOR THE CITY OF SCOTT; OFFICER REGINALD HILTS,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE
CITY OF SCOTT; and the CITY OF SCOTT, reserve their right to amend this answer at any
time prior to trial or within the appropriate delays as the Court may fix to assert other affirmative
defenses which may be discovered to be applicable in this matter.

WHEREFORE, premises considered, the defendants, OFFICER MARK VENABLE,
INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE
CITY OF SCOTT; OFFICER REGINALD HILTS, INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; and the CITY OF SCOTT,
pray that this answer be deemed good and sufficient and after all legal delays and due
proceedings are had, that there be judgment rendered herein in favor of the defendants, OFFICER
MARK VENABLE, INDIVIDUALLY AND IN HIS OFFICIAL CAPACITY AS A POLICE
OFFICER FOR THE CITY OF SCOTT; OFFICER REGINALD HILTS, INDIVIDUALLY AND
IN HIS OFFICIAL CAPACITY AS A POLICE OFFICER FOR THE CITY OF SCOTT; and the

CITY OF SCOTT, and against the plaintiff, Bruce J. Falcon, at the plaintiffs costs

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AND FOR ALL GENERAL AND EQUITABLE RELIEF, ETC.

BORNE & WILKES, L.L.C.

BY:

s/John F. Wilkes. III
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ATTORNEYS FOR OFFICER MARK VENABLE,
INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY AS A POLICE OFFICER FOR THE CITY
OF SCOTT; OFFICER REGINALD HILTS,
INDIVIDUALLY AND IN HIS OFFICIAL
CAPACITY AS A POLICE OFFICER FOR THE CITY
OF SCOTT; AND THE CITY OF SCOTT

CERTIFICATE

l HEREBY CERTIFY that on November 20, 2012, a copy of the foregoing Answer was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to William L. Goode by operation of the court’s electronic filing system.

s/John F. Wilkes, III
JOHN F. WILKES, III (Bar Roll #01644)
BORNE & WILKES, L.L.C.
Attorney for Defendants

